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                         UN ITED STATES D ISTRICT COU RT FO R THE
                              SO UTHERN DISTR ICT O F FLOR ID A
                                     M IA M ID IV ISION

                 C ase N um ber: I9-ZZIZO-CIV-M A RTIN EZ-O TA ZO -R EY ES

  LUX OTTICA G RO UP S.p.A .,an Italian
  corporation,

         Plaintiff,



  L& L W IN G S,IN C .,a foreign corporation,
  and SH A UL LEV Y ,individually,

         Defendants.


                  FIN AL O R DER O F D ISM ISSAL W IT H PR EJU D ICE A N D
                  O R DER D EN YIN G A LL PEN D IN G M O T IO N S A S M O O T

         THISMATTER isbeforetheCoul'
                                   tupontheparties'JointStipulationofDismissal(ECF
  '

  NO.17j.
         ADJUDGED thatthisactionisDISM ISSED withprejudice,witheachpal'tytobeartheir
  ow n attorneys'fees and costs associated w ith the dism issalofthese claim s.ltisalso:

         A DJU D G ED thata1lpending m otionsin this case are D ENIED A S M O O T ,and thiscase

  is CLO SED .

         DONE AND ORDERED inChambersatM iami,Florida,this>ö dayofJuly,2019.



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                                                               M A RTIN EZ
                                                      UN IT     STA TES DIS RICT JU D GE

  Copiesprovided to:
  M agistrate Judge O tazo-Reyes
  A l1CounselofRecord
